            Case 1:15-cv-07433-LAP Document 997 Filed 10/09/19 Page 1 of 5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


VIRGINIA GIUFFRE,

                          Plaintiff
                                                                       15 Civ. 7433 (LAP)
– against –
                                                                 NON-PARTY REPLY BRIEF
GHISLAINE MAXWELL,

                          Defendant.



        Notwithstanding this Court’s invitation for non-party participation, see Amended Order

(DE 982), and the Court of Appeals’ endorsement of the same, see Brown v. Maxwell, 929 F.3d

41, 49 (2d Cir. 2019) – Plaintiff’s essential point seemingly is that John Doe’s arguments

constitute an attempt to “dictate” process to this Court and “to serve as a de facto Special Master.”

Plaintiff’s Memorandum (DE 995) (“Pl. Mem.”) at 1-2. 1 John Doe’s brief does not “dictate”

anything. And Plaintiff’s declaration that it does cannot shield the shortcomings in Plaintiff’s
                                                                                                2
own legal arguments – shortcomings which are plain on the face of Plaintiff’s own brief.

    A. Filings Related to Unadjudicated Motions or Requests are Non-Judicial

        Plaintiff argues that the Court of Appeals’ decision “forecloses” the argument that filings

related to unadjudicated motions or requests are categorically non-judicial. Id. at 3. That is

wrong. Indeed, one need not even look past the four-corners of Plaintiff’s own brief to see that.

        Plaintiff cites for that bald proposition the following language (quoted here from

Plaintiff’s brief in its entirety): “‘Insofar as the District Court held that these materials are not



        1
          The Plaintiff also asserts that our “arguments are unnecessary,” id. at 1; that our
participation is “counterproductive,” id. at 6; and that a citation to the Court of Appeals’ decision
is “pointless . . . because th[is] Court did not need John Doe to remind it of what the opinion and
order remanding the case said,” id. at 5.
        2
            This brief consolidates our replies to Plaintiff’s and Intervenor Miami Herald’s briefs.
           Case 1:15-cv-07433-LAP Document 997 Filed 10/09/19 Page 2 of 5



judicial documents because it did not rely on them in adjudicating a motion, this was legal

error.’” Id. (quoting Brown, 929 F.3d at 50). But we agree. It would be legal error for a court to

conclude that a given filing is non-judicial merely because the court did not expressly rely on

that filing “in adjudicating a motion.”

       But, of course, that is not the argument here. Rather, where Judge Sweet did not

“adjudicat[e]” a motion or otherwise engage in some form of judicial action or determination of

litigants’ rights, the documents related to that motion that were – at the time, properly, and

pursuant to court order 3 – filed under seal, cannot be judicial documents.

       Critically, the Court of Appeals invoked the above-quoted language in its criticism of the

basis Judge Sweet himself invoked for maintaining the documents under seal: namely that those

documents “‘were neither relied upon by [the District] Court in the rendering of an adjudication,

nor necessary to or helpful in resolving a motion.’” Id. (quoting Giuffre v. Maxwell, 325 F. Supp.

3d 428, 434 (S.D.N.Y. 2018) (Sweet, J.) (emphasis supplied). The Court of Appeals was

unambiguous: a court performs the judicial function when it “rules on motions” and “exercises

its supervisory powers” though a “judicial decision.” Id. at 49 & n.26.

       Plaintiff further undermines her own argument in the very next paragraphs in which

Plaintiff rightly points out that the Court of Appeals’ analysis is focused on documents submitted

in connection with “‘judicial decision-making.’” Pl. Mem. at 3 (quoting Brown, 929 F.3d at




       3
          Plaintiff argues that our contention that the sine qua non of a judicial document is that it
relate to affirmative judicial action cannot be correct because it would lead, for example, to
complaints and answers being filed under seal until a case is resolved. But that is a straw-man.
The instant issue concerns a circumstance in which the Court explicitly permitted filings under
seal (and pursuant to a protective order), and now a different Court is reviewing the propriety of
maintaining the seal. This is not about ex ante sealing; it is about ex post unsealing.
                                                  2
           Case 1:15-cv-07433-LAP Document 997 Filed 10/09/19 Page 3 of 5



50). 4 Plaintiff argues that the Court of Appeals “was aware of” the status of motions and

therefore must have “meant for the holding to apply to this specific situation” – namely to wholly

unadjudicated motions. Id.

       But why? The Court of Appeals nowhere stated that it had assessed whether any motion

subject to remand here involved actual “judicial decision-making.” And there is nothing about the

“status of the docket” that obviously sets out which motions were and were not adjudicated. 5

Accordingly, the question of whether certain of the motions subject to remand – including “motions

to compel testimony, to quash trial subpoenae, and to exclude certain deposition testimony,”

Brown, 929 F.3d at 50 – were adjudicated was simply not examined by the Court of Appeals. 6

       But, most importantly, for the (unrebutted) reasons set forth in our initial brief, Plaintiff’s

argument is fundamentally contrary to law 7 and common sense. 8 See NP Br. at 2-4.




       4
         A court performs “the judicial function . . . when it rules on motions currently before it
[and] when properly exercising its inherent supervisory powers.” Brown, 929 F.3d at 49 (internal
quotation marks and emendations omitted; emphasis supplied).
       5
        Indeed, the underlying case was settled on the eve of trial, and thus the Court of
Appeals may well have assumed that motions subject to remand had been adjudicated.
       6
         The single motion that the Court of Appeals, itself, unilaterally unsealed was, in fact,
adjudicated by Judge Sweet “in a heavily redacted 76-page opinion.” Brown, 929 F.3d at 46.
       7
         See Standard Inv. Chartered, Inc. v. Nat’l Ass’n of Sec. Dealers, Inc., 621 F. Supp. 2d
55, 63 (S.D.N.Y. 2007) (holding that, where documents “did not in any way figure into the
Court's performance of its Article III functions, the documents do not qualify as judicial and
carry no presumption of public access”); see also S.E.C. v. TheStreet.Com, 273 F.3d 222, 233
(2d Cir. 2001) (documents are non-judicial if they “did not directly affect an adjudication [or]
significantly determine litigants’ substantive rights” (internal quotation marks omitted)).
       8
          See Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 123 (2d Cir. 2006) (explaining
that “the rationale behind access is to allow the public an opportunity to assess the correctness of
the judge’s decision” (internal quotation marks omitted)).
                                                  3
           Case 1:15-cv-07433-LAP Document 997 Filed 10/09/19 Page 4 of 5



   B. Filings With Frivolous, Scandalous or Otherwise Improper Content Are Non-Judicial

       Plaintiff does not appear to contest that filings with frivolous, scandalous, or otherwise

improper content, which is predicated on the express language of governing precedent. See, e.g.,

Lugosch, 435 F.3d at 122; United States v. Gatto, No. 17-CR-686 (LAK), 2019 WL 4194569, at

*3 (S.D.N.Y. Sept. 3, 2019); Brown, 929 F.3d at 51-52. Indeed, Plaintiff appears to argue only

that because the Court of Appeals already made clear that this Court has the authority to sua

sponte strike or deem non-judicial documents that contain such content, this “Court did not need

John Doe to remind it” of that authority. Pl. Mem at 5.

   C. The Herald Seems to Misunderstand the Unsealing Review Process

       For all its failings, Plaintiff’s brief at least appreciates that this stage of the review

process – identifying potential categories of non-judicial documents that should remain under

seal – is only the first step of a process that will also involve notice to and participation of non-

parties. See, e.g., Pl Mem. at 7. The same cannot be said of intervenor Miami Herald’s brief.

       Consistent with its single-note performance at the initial status conference, see Tr. at 22-

23 (“THE COURT: And [counsel for the Herald] is going to say unseal the whole thing, right?”),

the Herald’s brief argues that because Defendant and John Doe “have failed to identify any non-

generalized, non-speculative interest that would outweigh these . . . rights of access . . . the

remaining documents should be immediately unsealed.” Herald Br. at 2. Obviously, that is

wrong, and reflects a fundamental misapprehension of the status of this review. This is not the

time to be identifying countervailing interests; 9 that may come later. This is the time to identify




       9
         Indeed, a non-party cannot be expected to identify any countervailing interest when it
lacks any means of knowing what any sealed document contains.
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         Case 1:15-cv-07433-LAP Document 997 Filed 10/09/19 Page 5 of 5



whether any categories of documents can be deemed non-judicial and therefore remain sealed

and require no further review or non-party input. See generally Order at 1; Transcript, passim.


Dated: October 9, 2019
       New York, New York

                                                    Respectfully Submitted,
                                                    KRIEGER KIM & LEWIN LLP


                                               By: _________________________
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